     Case 1:21-mj-00122-RMM Document 36 Filed 01/21/22 Page 1 of 3




                         UNITED STATES DISTRICT
                        COURT FOR THE DISTRICT OF
                               COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
        v.                                   : CRIMINAL NO. 21-MJ-00122 (RMM)
                                             :
MATHEW CAPSEL,                               :
    Defendant.                               :


              CONSENT MOTION TO CONTINUE PRELIMINARY HEARING

        The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Consent Motion to Continue the Preliminary

Hearing in the above-captioned matter, currently scheduled for January 25, 2022 until a date

after March 25, 2022. In support thereof, the government states as follows:

   1. On January 19, 2021, the defendant was arrested and charged by Criminal Complaint

        with one count of Obstruction, in violation of 18 U.S.C. § 243(a)(3); Assault, in

        violation of 18 U.S.C. § 111, and Unlawful Entry on Capitol Grounds, violation of 18

        U.S.C. § 1752(a)(1) and (4). On February 5, 2021, the Honorable Judge Meriweather

        ordered that the defendant remain on release subject to monitoring conditions. A

        preliminary hearing was set for March 4, 2021, and then continued by several times by

        consent motion until January 25, 2022.

   2. The government and counsel for the defendant have conferred, and are continuing to

        communicate in an effort to resolve this matter. The government is also gathering

        discovery to provide to counsel for the defendant.

   3.    The parties, therefore, would respectfully request that the preliminary hearing be

                                             1
      Case 1:21-mj-00122-RMM Document 36 Filed 01/21/22 Page 2 of 3



        continued until a date after March 25, 2022. The parties agree that the interests and

        ends of justice are best served and outweigh the interests of the public and the defendant

        in a speedy trial, and that this adjournment will allow the parties to continue

        negotiations in an effort to achieve a resolution before trial. Therefore, the parties agree

        that pursuant to 18 U.S.C. § 3161, the time from January 25, 2022 through the next

        court date shall be excluded in computing the date for speedy trial in this case.



       Wherefore, the parties respectfully request that the Court continue the Preliminary

Hearing in this matter until March 25, 2022, or to a date after that date convenient to the

Court’s calendar.

                                    Respectfully submitted,

                                    MATTHEW GRAVES
                                    U.S. ATTORNEY



                             By:       /s/
                                    Kenya K. Davis
                                    Assistant United States Attorney
                                    D.C. Bar No. 502305
                                    U.S. Attorney’s Office
                                    555 4th Street, N.W.
                                    Washington, D.C. 20530
                                    202-252-7059
                                    Kenya.Davis@usdoj.gov




                                               2
      Case 1:21-mj-00122-RMM Document 36 Filed 01/21/22 Page 3 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :
                                              :
         v.                                   : CRIMINAL NO. 21-MJ-00122(RMM)
                                              :
 MATHEW CAPSEL,                               :
         Defendant.                           :



                                            ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon

consent, it is therefore

        ORDERED that the parties shall appear for a Preliminary Hearing at_______ March -

2022. It is further

        ORDERED that pursuant to the representations made by the parties, the interests and

ends of justice are best served and outweigh the interests of the public and the defendant in a

speedy trial. Pursuant to 18 U.S.C. § 3161, the time from January 25, 2022 through March ____,

2022 shall be excluded in computing the date for speedy trial in this case.




                                             ______________________________________
                                             The Honorable Judge Harvey




                                              3
